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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                    IN THE UNITED STATES DISTRICT COURT                       January 14, 2022
                     FOR THE SOUTHERN DISTRICT OF TEXAS                      Nathan Ochsner, Clerk
                              HOUSTON DIVISION

IIITEC LIMITED,                             §
                                            §
                    Plaintiff,              §
                                            §
v.                                          §       CIVIL ACTION NO. H-19-3386
                                            §
WEATHERFORD TECHNOLOGY                      §
HOLDINGS, LLC,                              §
MARATHON OIL COMPANY, and                   §
IN-DEPTH SYSTEMS, INC.,                     §
                                            §
                    Defendants.             §


                         MEMORANDUM OPINION AND ORDER

       Plaintiff,    iiiTec    Limited       (“iiiTec”),    brings    this      action

against      defendants,      Weatherford           Technology     Holdings,           LLC

(“Weatherford”),         Marathon    Oil     Company    (“MOC”),     and    In-Depth

Systems, Inc.       (“In-Depth”),         seeking    declaratory    judgment        that

Weatherford does not have rights to any Assigned IP subject to

iiiTec’s exlcusive license (Count I), that iiiTec’s exclusive

license to the Assigned IP is valid and binds Weatherford (Count

II), breach of contract (Count III), and attorney’s fees (Count

IV). Pending before the court are Plaintiff’s Motion to Reconsider

Memorandum Opinion and Order and Final Judgment and/or Motion for

New Trial     or    to   Modify     the   Judgment     (“Plaintiff’s       Motion        to

Reconsider”) (Docket Entry No. 192), Motion for Leave to Seal

Exhibits to Plaintiff’s Motion to Reconsider Memorandum Opinion and

Order and Final Judgment and/or Motion for New Trial or to Modify

the Judgment (“Plaintiff’s Motion to Seal Exhibits”) (Docket Entry
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No. 193), and Opposed Motion for Leave to File Reply in Support of

Plaintiff’s Motion to Reconsider Memorandum Opinion and Order and

Final Judgment and/or Motion for New Trial or to Modify the

Judgment (“Plaintiff’s Motion for Leave to File Reply”) (Docket

Entry No. 196).      For the reasons stated below, Plaintiff’s Motion

to Reconsider will be denied, Plaintiff’s Motion to Seal Exhibits

will be denied, and Plaintiff’s Motion to File Reply will be

granted.



                  I. Factual and Procedural Background

A.     Factual Background

       MOC licensed “On Depth Positioning Technology” using Radio

Frequency Identification Device (“RFID”) technology to In-Depth

Systems, Inc. (“In-Depth”) pursuant to an agreement entered into as

of May 3, 2001, an Addendum entered on April 7, 2006, and an

Addendum No. 2 entered on April 26, 2010.1

       Pursuant to a License Agreement entered on January 30, 2007,

and amended on November 1, 2007, In-Depth granted iiiTec a non-



       1
      Amended and Restated License Agreement, Docket Entry
No. 98-1, pp. 2 (“entered into as of May 3, 2001), 3 ¶ 1.03
(described licensed technology), 27-29 (Addendum), 30-34
(Addendum No. 2). See also Third Amended Complaint, Docket Entry
No. 146, p. 5 ¶ 15(recognizing that MOC held patents covering the
use of RFID in downhole operations and had licensed rights to
those patents to In-Depth for use with respect to On Depth
Positioning Technology). Page numbers for docket entries refer
to the pagination inserted at the top of the page by the court’s
electronic filing system.

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exclusive sub-license to portions of the RFID technology licensed

from MOC.2           The portions of RFID technology that In-Depth sub-

licensed to Plaintiff               pertained to “RFID Reverse Application

Drilling Assembly” and “RFID Reverse Application Methods.”3

        On     August    19,     2008,   iiiTec    entered     into   a   Technology

Development          Agreement    (“TDA”)   with   MOC   and    Petrowell   Limited

(“Petrowell”),4 pursuant to which MOC agreed to fund development of

RFID technology with up to $20 million over a four-year period,5

and         iiiTec    and      Petrowell,   referred     to      collectively    as

“Developers,”6 agreed that

        [a]ny IP that is conceived, originated or developed
        solely or jointly by any Developer Entity, with or
        without MOC and any third party, . . . and any IP that is
        derived by any Developer Entity from, arising out of, or
        relating   to   the  RFID   Technoloy   or   Confidential
        Information, shall belong to MOC and be owned solely by
        MOC, and the Developer Entities hereby assign to MOC all
        right, title and interest therein, including all interest
        in copyrights (“Assigned IP”). Accordingly, except as
        expressly set forth herein, no Developer Entity shall
        have rights to IP developed . . . or derived by any
        Developer Entity from, arising out of, or relating to the


        2
      License Agreement, Docket Entry No. 98-13, pp. 37-40, and
Docket Entry No. 98-14, pp. 2-19. This License Agreement may
also be found in a single instrument at Docket Entry No. 115-5.
        3
            Id. at §§ 1.03-1.04, Docket Entry No. 98-13, pp. 38-39.
        4
            TDA, Docket Entry No. 1-2.
        5
            Id. at § 2, Docket Entry No. 1-2, pp. 5-6.
        6
      Id. at 1. See also id. § 1.9, Docket Entry No. 1-2, p. 3
(defining “Developer Entities” to “mean[] both Developers, their
Affiliates and their collective Representatives, Contractors and
Licensees”).

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     RFID Technology or Confidential Information. Developers
     shall develop, use, maintain and document policies,
     processes and systems approved by MOC to diligently
     protect MOC’s rights in Assigned IP and to report the
     development of material Assigned IP to MOC. Developers
     shall provide MOC with access to such policies, processes
     and systems, and to documentation of Assigned IP, and
     shall include information regarding the same and its
     efforts to protect Assigned IP in annual reports and at
     MOC’s request.7

The TDA provided that

     MOC shall grant to In-Depth or Developers licenses in any
     Assigned IP (“Assigned IP Licenses”), depending on MOC’s
     agreement with In-Depth and others.      If assigned to
     Developers, the Assigned IP Licenses shall be exclusive
     to Petrowell in the Completion Field and to iiiTec in the
     Drilling Field or Coiled Tubing Field. . . iiiTec’s
     Assigned IP Licenses will survive so long as the Drilling
     Field and Coiled Tubing Technology Development Fees are
     paid to MOC and iiiTec is otherwise in compliance with
     its obligations in this Agreement.      The Assigned IP
     Licenses may be sublicensed by the Developers within
     their respective fields.8

The TDA also provided that

     iiiTec shall pay to MOC a technology development fee on
     the Gross Revenue of both sales or rental of all
     Exclusive Tools and Non-exclusive Tools related to the
     Drilling Field and the Coiled Tubing Field, regardless of
     what Person collects the price paid.        The fees for
     individual tools (Exclusive & Non-exclusive) are listed
     in Exhibit 1. Drilling Field and Coiled Tubing Field
     tools that are subsequently added to the Program will
     have a minimum Technology Development Fee of 4.5% of
     sales or 17.5% of iiiTec’s Gross Revenue received from
     the rental tickets.9

     On August 25, 2008, MOC and In-Depth executed a Memorandum of


     7
         Id. at § 9.6, Docket Entry No. 1-2, p. 13.
     8
         Id. at § 9.9, Docket Entry No. 1-2, p. 14.
     9
         Id. at § 10.2, Docket Entry No. 1-2, p. 15.

                                     4
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Understanding (“MOU”) stating, inter alia, that

     [t]o the extent that [MOC] receives intellectual property
     ownership pursuant to the program and licenses such
     intellectual property to In-Depth, In-Depth will promptly
     sub-license such intellectual property to Petrowell and
     iiiTec on the same basis as In-Depth currently licenses
     RFID    technology    (including   reverse    application
     technology) to Petrowell and iiiTec, but without any
     additional royalty or other fee.10

     On May 5, 2009, iiiTec and Weatherford Switzerland Trading and

Development      GmbH   (“Weatherford    Switzerland”),    a   Weatherford

affiliate, entered into a Manufacturing and Distribution Agreement

(“MDA”), pursuant to which iiiTec granted Weatherford Switzerland

and its affiliates a sub-license to all of iiiTec’s intellectual

property relating to RFID, and Weatherford Switzerland agreed to

pay iiiTec a percentage of all tools sold or rented by Weatherford

Switzerland or its affiliates to end users.11

     In 2010 MOC expanded the scope of the technology licensed to

In-Depth by deleting the first sentence of ¶ 1.03 of the License

Agreement with In-Depth, which stated that

     “On Depth Positioning Technology” shall mean technology
     relating to apparatus and static and dynamic methods for
     determining location within a tubular, for example depth
     in a cased well bore, pipeline or the like, using RFID
     technology.    “Patent Rights” and “Proprietary Data”
     define portions of the On Depth Positioning Technology,12



     10
          MOU, Docket Entry No. 94-13, p. 2 ¶ 3.
     11
          MDA, §§2.1, 3.1, Docket Entry No. 98-13, pp. 3-4, and 5.
     12
      Amended and Restated License Agreement, Docket Entry
No. 98-1, p. 3 ¶ 1.03.

                                     5
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and inserting the following sentence:

     “On Depth Positioning Technology” shall mean: methods,
     apparatus, assemblies, systems and wells for determining
     location within a tubular, for example depth in a cased
     well bore, pipeline or the like, using RFID technology;
     assemblies and processes for identifying and tracking
     assets; and, methods and systems for performing
     operations in a well, for example perforating operations,
     including transportation of an identification device, for
     example RFID, in a well.13

     In early 2013 Plaintiff paid MOC $ 290,801.24 explaining that

     [a]fter last year’s transactions with Weatherford, Inc.,
     we are now in a position to settle the Royalties due on
     the iiiTec RFID business.

          The royalties are derived wholly from the [MDA]
     between iiiTec and Weatherford Inc. . .

          Under the [TDA] iiiTec is due to pay [MOC] at a rate
     of 17.5%. This amounts to $ 290,801.24.14

     In      April   2017,   MOC   and       Weatherford   entered   into   an

Intellectual Property Purchase Agreement (“IPPA”), pursuant to

which MOC sold all of its “RFID Patents” and “RFID Technology” to

Weatherford “subject to any and all rights and licenses granted” by

MOC to others pursuant to certain contracts listed in the IPPA,




     13
          Id. at Addendum No. 2, Docket Entry No. 98-1, p. 30 ¶ 1.
     14
      February 1, 2013, Email to MOC’s Phil Snider (“Snider)
from iiiTec’s Stuart Tait (“Tait”), Docket Entry No. 98-4. See
also TDA, § 10.2, Docket Entry No. 1-2, p. 15 (“Drilling Field
and Coiled Tubing Field tools that are subsequently added to the
Program will have a minimum Technology Development Fee of 4.5% of
sales or 17.5% of iiiTec’s Gross Revenue received from the rental
tickets.”).

                                         6
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including the TDA.15    The IPPA also “assign[ed], transfer[red], and

convey[ed] to [Weatherford] all of [MOC’s] rights, interests, and

obligations in and under” certain contracts that were “assignable

without the consent of a third party.”16

     In early 2017, iiiTec sued Weatherford Switzerland in Harris

County District Court, claiming it was owed royalties under the

MDA, the lawsuit was removed to this court, and dismissed for

violation of the MDA’s forum selection clause.17

     On June 14, 2017, In-Depth sent iiiTec a notice of breach

advising iiiTec that it owed $1.3 million in royalties pursuant to

the parties’ license agreement, and when iiiTec failed to make

payment, In-Depth sent another letter terminating the license

agreement.18 In-Depth then commenced arbitration against iiiTec for

breach of contract, and on October 17, 2019, arbitrators entered a

final award in favor of In-Depth.19




     15
          IPPA, §§ 2.1-2.2, Docket Entry No. 95-8, pp. 4-5.
     16
      Id. at § 2.4, Docket Entry No. 95-8, p. 5, and Exhibit C
thereto (listing contracts assigned to Weatherford).
     17
          See Civil Action No. 4:18-1191, Docket Entry No. 81.
     18
      August 14, 2017, Letter from J. David Cabello to Tait,
Thomas Doig (“Doig”), and Kelly Stephens, Docket Entry No. 115-6.
     19
      Final Award of Arbitrators, International Center for
Dispute Resolution, No. 01-18-0001-5994, Docket Entry No. 115-7.

                                     7
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B.     Procedural Background

       On     September   6,   2019,   iiiTec   filed   this   action   seeking

declaratory judgment that the IPPA does not grant Weatherford

rights to any Assigned IP subject to iiiTec’s exclusive license

(Count I), or, in the alternative, that iiiTec’s exclusive license

of the Assigned IP under the TDA is valid and binds Weatherford

(Count II), damages, specific performance, and injunctive relief

for Weatherford’s breach of the TDA (Count III), and reasonable and

necessary attorneys’ fees pursuant to the Federal Declaratory

Judgment Act (Count IV).20

       After iiiTec filed a Second Amended Complaint (Docket Entry

No. 77) reasserting the same causes of action, Weatherford moved

for summary judgment on all four counts (Docket Entry No. 93), and

iiiTec moved for summary judgment on Counts I and II (Docket Entry

No. 97).       On December 1, 2020, the court entered a Memorandum and

Order (Docket Entry No. 144) denying iiiTec’s motion for summary

judgment on Counts I and II, and granting Weatherford’s motion for

summary judgment in limited part, holding that the TDA did not

provide iiiTec an express license to Assigned IP,21 and that MOC is

a necessary party with respect to Counts I, II, and III.22                    The

court denied Weatherford’s motion for summary judgment on Counts I,


       20
            Original Complaint, Docket Entry No. 1-6, pp. 10-13.
       21
            Memorandum and Order, Docket Entry No. 144, pp. 23-26.
       22
            Id. at 47.

                                         8
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II, and III because Weatherford failed to show beyond dispute that

iiiTec does not have an implied exclusive license to Assigned IP,23

and that if iiiTec has an implied exclusive license to Assigned IP,

then    Weatherford      purchased   the   Assigned   IP   subject   to   that

license.24      The court denied as premature Weatherford’s motion for

summary judgment on iiiTec’s claim for attorney’s fees asserted in

Count IV.25

       On December 15, 2020, iiiTec filed its Third Amended Complaint

(Docket Entry No. 146), adding MOC and In-Depth as defendants, and

reasserting the same causes of action for declaratory judgment that

Weatherford does not have rights to any Assigned IP subject to

iiiTec’s exclusive license (Count I), or, in the alternative, that

iiiTec’s exclusive license of the Assigned IP is valid and binds

Weatherford (Count II), breach of contract regarding the TDA (Count

III), and reasonable and necessary attorneys’ fees pursuant to the

Federal Declaratory Judgment Act (Count IV).26

       During a hearing held on December 17, 2020, the court informed

iiiTec that it had the burden of showing the existence and terms of



       23
            Id. at 13-18.
       24
      Id. at 37-39, and 43 (“genuine questions of material fact
exist regarding whether iiiTec was granted a license to the
Assigned IP and whether Weatherford owns the Assigned IP subject
to iiiTec’s rights”).
       25
            Id. at 47.
       26
            Third Amended Complaint, Docket Entry No. 146, pp. 36-44.

                                       9
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its alleged implied exclusive license,27 and ordered iiiTec to

submit an opening letter brief “in support of the creation and

terms of an implied license.”28       The court ordered Defendants to

file their own letter brief in support of their argument that no

implied license exists, to which iiiTec could reply.29         On February

8, 2021, iiiTec filed a “letter brief in support of the creation

and terms of an implied license in favor of iiiTec” (“Plaintiff’s

Letter Brief”) (Docket Entry No. 160).           On February 15, 2021,

Defendants filed their own letter brief and exhibits (“Defendants’

Letter Brief”) (Docket Entry No. 161) arguing that “iiiTec cannot

meet its burden to prove that it has, or ever had, an implied

exclusive license to the Assigned IP,”30 and that “iiiTec has no

exclusive implied license to Assigned IP from Marathon as a matter

of law and the Court should dismiss iiiTec’s claims.”31

     On February 23, 2021, iiiTec filed a Reply Letter Brief “in

Support of its Letter Brief regarding the creation and terms of an

implied license in favor of iiiTec” (“Plaintiff’s Reply Letter

Brief”) (Docket Entry No. 168).



     27
      Transcript of Pretrial Conference, Docket Entry No. 152,
pp. 29:1-31:13.
     28
          Telephone Hearing Minutes and Order, Docket Entry No. 150.
     29
      Id. See also Transcript of Pretrial Conference, Docket
Entry No. 152, p. 31:6-8.
     30
          Defendants’ Letter Brief, Docket Entry No. 161, p. 1.
     31
          Id. at 19 ¶ 5.

                                    10
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     On February 25, 2021, the court held a hearing on the letter

briefs at which the parties were allowed to present oral argument.32

At the beginning of the hearing the court informed the parties that

“this case is getting transferred to another judge,”33 and at the

end of the hearing the court stated:

     I have indulged the parties on this and, frankly, my               own
     curiosity, and I’ve expressed some views informally.               And
     the new judge can say: Forget it; or can say: Yes, I               get
     it with what she said. And then key-off of that.                   But
     they will have to write something.34

     On March 4, 2021, the case was reassigned to the undersigned

judge pursuant to Special Order No. 2021-10 (Docket Entry No. 175).

     Considering Defendants’ letter brief as a renewed motion for

summary judgment in which Defendants argued that iiiTec is unable

to cite evidence capable of establishing that it possesses an

implied exclusive license to any Assigned IP,35 and considering the

February 25,      2021,    hearing   as   oral   argument   for   and    against

Defendants’ renewed motion for summary judgment, on June 25, 2021,

the court issued a Memorandum Opinion and Order (Docket Entry No.

179) granting Defendants summary judgment, and a Final Judgment

(Docket Entry No. 180) (collectively “June 25, 2021, Order and

Judgment”) dismissing this action with prejudice.


     32
          Oral Argument, Docket Entry No. 182.
     33
          Id. at 4:9-19.
     34
          Id. at 61:1-5.
     35
      Defendants’ Letter Brief, Docket Entry No. 161, p. 1
(“iiiTec cannot meet its burden to prove that it has, or ever
had, an implied exclusive license to the Assigned IP”).

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             II. Plaintiff’s Motion for Leave to File Reply

     Because iiiTec missed the deadline of November 30, 2021, for

filing its Reply in Support of Plaintiff’s Motion to Reconsider,

iiiTec filed the pending Motion for Leave to File Reply on December

3, 2021, attached to which is the reply it seeks leave to file.36

Acknowledging that Defendants filed their Response on November 23,

2021, the Tuesday before Thanksgiving, and that under “Local Rule

7.4.E, iiiTec’s reply would have been due 7 days later on Tuesday,

November 30, 2021,”37 iiiTec explains that its

     counsel’s offices were closed for two of those days for
     the Thanksgiving holiday, on November 25-26, 2021[,] and
     its counsel assigned to brief this matter was also
     traveling on vacation over Thanksgiving Week.       This
     effectively left iiiTec’s counsel with only 2 business
     days (Monday and Tuesday) to review, analyze, and craft
     a reply to Defendants’ response before the due date.
     iiiTec’s counsel also had other deadlines and matters
     which it was required to attend to but undertook to
     review and draft a short reply to the response as
     expeditiously as possible.       iiiTec should not be
     prejudiced by its counsel’s schedule by having its reply
     arguments rejected based on the tight time-frame created
     by travel and the Thanksgiving Holiday. Especially since
     certain arguments in reply are responses to entirely new
     arguments made by Defendants — such as the argument that
     the Rule 59(e) [motion] is now untimely even though it
     was timely filed and then the Court ordered that it be
     shortened and refiled.38

     Defendants respond that iiiTec not only fails to cite or


     36
      Plaintiff’s Reply in Support of Motion to Reconsider
Memorandum Opinion and Order and Final Judgment and/or Motion for
New Trial or to Modify the Judgment (Doc. 192) (“Plaintiff’s
Reply in Support of Reconsideration”), Docket Entry No. 196-1.
     37
      Plaintiff’s Motion for Leave to File Reply, Docket Entry
No. 196, p. 1.
     38
          Id. at 1-2.

                                    12
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analyze the standard for granting the relief it seeks, but also

fails to provide any valid reason for not timely filing its reply.

Defendants also argue that granting iiiTec’s motion will prejudice

them because the reply that iiiTec seeks leave to file contains new

arguments, which Defendants would need to address in a surreply,

that would delay resolution not only of this case, but also of

litigation between the parties in Scotland.39

       Rule 6(b) governs the court’s discretion to extend the time

for filing when a deadline has passed.            Rule 6(b)(1) provides that

the court may, for good cause, extend the time “on motion made

after the time has expired if the party failed to act because of

excusable neglect.”        Fed. R. Civ. P. 6(b)(1).          “The determination

of ‘what sorts of neglect will be considered “excusable” . . . is

at    bottom   an   equitable   one,     taking    account    of   all   relevant

circumstances surrounding the party’s omission.’” Texas Department

of Housing and Community Affairs v. Verex Assurance, Inc., 158 F.3d

585, 1998 WL 648608, at *2 (5th Cir. Sept. 11, 1998) (per curiam)

(unpublished) (quoting Pioneer Investment Services Co. v. Brunswick

Associates Limited Partnership, 113 S. Ct. 1489, 1498 (1993)).                 In

determining      whether   there   has    been    excusable    neglect,   courts

consider the following nonexclusive factors: (1) the danger of

prejudice to the non-movant; (2) the length of the delay and its

potential impact on judicial proceedings; (3) the reason for the

       39
      Defendants’ Response to Plaintiff’s Motion for Leave to
Late File Reply, Docket Entry No. 197.

                                         13
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delay, including whether it was within the reasonable control of

the movant; and (4) whether the movant acted in good faith.

Pioneer, 113 S. Ct. at 1493 and 1498.       See also Adams v. Travelers

Indemnity Company of Connecticut, 465 F.3d 156, 161 n. 8 (5th Cir.

2006) (same).

     Although weak, iiiTec’s explanations for delay are candid, and

the excusable neglect factors favor iiiTec.          Defendants’ primary

argument for prejudice is that iiiTec’s reply introduces new

arguments that will necessitate the filing of a sur-reply, delay

resolution of this case, and possibly delay ongoing litigation in

Scotland.    As Defendants observe, “a reply brief ‘is not the

appropriate vehicle for presenting new arguments or legal theories

to the court.’”40 See Petty v. Portofino Council of Coowners, Inc.,

702 F.Supp.2d 721, 729 n. 3 (S.D. Tex. 2010) (“the scope of the

reply brief must be limited to addressing the arguments raised by

the response”) (citations omitted).       Granting iiiTec’s motion will

not cause appreciable delay in disposition of this case as the

reply was only three days late, and will not delay the court’s

resolution of the pending Motion to Reconsider, but will insure

that iiiTec has had the opportunity to present all of its arguments

and evidence. Moreover, as this is not a circumstance where iiiTec

failed to act for a lengthy period of time, the court concludes

     40
      Id. at 8 (quoting AAR, Inc. v. Nunez, 408 F. App’x 828,
830 (5th Cir. 2011) (per curiam) (unpublished) (“a reply brief is
limited to addressing matters presented by appellant’s opening
brief and by appellee’s response brief”).

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that iiiTec is litigating in good faith.             In sum, considering all

the relevant circumstances surrounding iiiTec’s late filing, the

court concludes that the interests of justice favor granting

iiiTec’s Motion for Leave to File Reply.



                      III. Plaintiff’s Motion to Reconsider

       Citing Federal Rules of Civil Procedure 59(e), 60(a), and

60(b), Plaintiff asks the court to “reconsider and repeal its June

25,    2021,     Memorandum     Opinion    and   Order    and   Final   Judgment.

Alternatively, Plaintiff moves for new trial pursuant to Rule 59(a)

or    to     modify    or   reform   the   Judgment.”41     Defendants     oppose

Plaintiff’s Motion to Reconsider arguing that Plaintiff is not

entitled to relief under Rule 59 or Rule 60.42



A.     Standards of Review

       iiiTec cites Federal Rules of Civil Procedure 59(a) and (e),

and 60(a) and (b)(6) in support of its Motion to Reconsider, but

does not address the standard of review the court should apply with

respect to any of these rules or how those standards apply to any

of its arguments.


       41
            Plaintiff’s Motion to Reconsider, Docket Entry No. 192,
p. 1.
       42
      Defendants’ Response to Plaintiff’s Motion to Reconsider
Memorandum Opinion and Order and Final Judgment and/or Motion for
New Trial or to Modify the Judgment, (“Defendants’ Response”),
Docket Entry No. 195.

                                           15
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      1.    Rule 59(a) Does Not Apply to iiiTec’s Motion

      Rule 59(a) allows a district court to order a new trial only

“after a jury trial” or “after a nonjury trial.”          Fed. R. of Civ.

P. 59(a)(1)(A)-(B).       Because the court granted summary judgment on

Plaintiff’s     claims,    Rule   59(a)   does   not   apply   to   iiiTec’s

arguments.     See Piazza’s Seafood World, LLC v. Odom, 448 F.3d 744,

748   n.   9   (5th   Cir.   2006)   (“The   district    court      correctly

characterized and analyzed the [plaintiff’s] Rule 59(a) motion for

new trial as a Rule 59(e) motion to reconsider entry of summary

judgment.”); United States v. $16,540 in U.S. Currency, 273 F.3d

1094, 2001 WL 1085106, at *2 (5th Cir. 2001) (per curiam) (“Because

there was no trial, [the petitioner’s] motion for a ‘new trial’

following summary judgment was inappropriate[] . . . the motion

should have been construed as a motion for reconsideration pursuant

to Rule 59(e).”).



      2.    Rule 60(a) Does Not Apply to iiiTec’s Motion

      Under Rule 60(a) the court may correct errors, created by

clerical mistakes, oversights, or omissions, “that cause the record

or judgment to fail to reflect what was intended at the time

trial.”    Warner v. City of Bay St. Louis, 526 F.2d 1211, 1212 (5th

Cir. 1976) (citing Fed. R. Civ. P. 60(a)).         The Fifth Circuit has

repeatedly held that Rule 60(a) does not provide a basis for relief

when the errors at issue are substantive, not clerical.                  Id.


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(“[E]rrors that affect substantial rights of the parties are

outside the scope of Rule 60(a). . . Such errors may be corrected

under Rule 69(b).”).         For example, in Warner the Fifth Circuit

concluded that Rule 60(a) did not apply when the district court

entered     an   incorrect   interest   rate   because   “there   [wa]s     no

allegation that this error [wa]s a typographical or transcribing

mistake, or the mistake was an inadvertent one.”         Id.   And in Britt

v. Whitmire, the Fifth Circuit concluded that Rule 60(a) did not

apply when the district court purported to rule on a partial

summary judgment motion rather than a summary judgment motion to

resolve all claims because altering the judgment required “more

than a mere correction of a clerical error by the district court”

and “would clearly affect[] substantial rights of the parties.”

956 F.2d 509, 515 (5th Cir. 1992). Likewise, in Jones v. Anderson-

Tully Co., the Fifth Circuit denied Rule 60(a) relief when the

district court incorrectly described the boundary line of a plot of

land because “[t]he mistake . . . affect[ed] the substantive rights

of the parties . . . [and] [wa]s not clerical.”          722 F.2d 211, 212

(5th Cir. 1984) (per curiam). Although iiiTec argues that the June

25, 2021, Order and Judgment contain clerical errors because they

dismiss iiiTec’s claims with prejudice,43 for the reasons explained

in Warner, Britt, and Jones, Rule 60(a) does not apply to the



     43
          Plaintiff’s Motion to Reconsider, Docket Entry No. 192,
p. 24.

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arguments made in Plaintiff’s Motion to Reconsider because the

correction iiiTec seeks would affect the parties’ substantive

rights. See Gilmore-Webster v. Bayou City Homebuyers, Inc., 845 F.

App’x 329, 333-34 (5th Cir. 2021) (per curiam).



     3.     Rule 59(e) — Not 60(b)(6) — Applies to iiiTec’s Motion

     “[T]he Federal Rules of Civil Procedure do not recognize a

general motion for reconsideration,” St. Paul Mercury Insurance

Company v. Fair Grounds Corporation, 123 F.3d 336, 339 (5th Cir.

1997).    In this circuit

     [a] motion asking the court to reconsider a prior ruling
     is evaluated either as a motion to “alter or amend a
     judgment” under Rule 59(e) or as a motion for “relief
     from a final judgment, order, or proceeding” under
     Rule 60(b).     The rule under which the motion is
     considered is based on when the motion was filed. Texas
     A&M Research Foundation v. Magna Transportation, Inc.,
     338 F.3d 394, 400 (5th Cir. 2003). If the motion was
     filed within twenty-eight days after the entry of the
     judgment, the motion is treated as though it was filed
     under Rule 59, and if it was filed outside of that time,
     it is analyzed under Rule 60.

Demahy v. Schwarz Pharma, Inc., 702 F.3d 177, 182 n.2 (5th Cir.

2012) (per curiam), cert. denied, 134 S. Ct. 57 (2013).

     The Order and Judgment from which Plaintiff seeks relief are

dated June 25, 2021.      Twenty-eight days later on July 23, 2021,

iiiTec filed an Opposed Motion for Leave to Exceed Page Limit

(Docket Entry No. 183), to which was attached a 53-page document

titled “Plaintiff’s Motion to Reconsider its Memorandum Opinion and

Order and Final Judgment and/or Motion for New Trial” (Docket Entry

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No. 183-1).       On July 28, 2021, Defendants filed a response in

opposition to Plaintiff’s Opposed Motion for Leave to Exceed Page

Limit and a Motion to Strike Plaintiff’s Motion to Alter, Amend, or

Reform Judgment (Docket Entry No. 187).              By Order entered on

October 4, 2021, the court denied Plaintiff’s Motion for Leave to

Exceed     Page   Limit   and   granted    Defendants’   Motion   to   Strike

Plaintiff’s Motion to Alter, Amend, or Reform Judgment, and ordered

iiiTec “to file one motion of no more than twenty-five pages”

within forty-five days.44        On November 2, 2021, iiiTec filed the

pending Motion to Reconsider.

     Asserting that extensions of time for filing Rule 59(e)

motions are expressly prohibited by Federal Rule of Civil Procedure

6(b)(2), Defendants argue that iiiTec’s Motion to Reconsider must

be considered under Rule 60(b)(6) — not Rule 59(e) — because iiiTec

filed the pending Motion to Reconsider on November 2, 2021, more

than twenty-eight days after entry of the June 25, 2021, Order and

Judgment, and “[t]he Court did not, and could not, extend iiiTec’s

deadline to file a Rule 59 motion.”45

     On July 23, 2021, the twenty-eighth day after the court

entered the June 25, 2021, Order and Judgment, iiiTec filed both a

motion for leave to exceed the court’s page limit and a motion to

reconsider.       The court denied iiiTec’s motion to exceed the page


     44
          Order, Docket Entry No. 191, p. 4.
     45
          Defendants’ Response, Docket Entry No. 195, p. 24.

                                      19
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limit, struck the accompanying motion to reconsider for failure to

comply with the court’s 25-page limit, and ordered iiiTec to refile

its motion in a form that complied with the court’s page limits.

iiiTec did not seek leave to file an out-of-time Rule 59(e), and

the    court’s      order   directing    iiiTec      to     refile     its   motion   to

reconsider in a form that complies with the court’s page limits did

not extend the time for filing a Rule 59(e) motion in violation of

Rule 6(b)(2). Because iiiTec filed its Motion to Reconsider on the

twenty-eighth day after entry of the Order and Judgment at issue,

the court concludes that the appropriate standard of review is that

provided by Rule 59(e) — not Rule 60(b)(6).                    See Greer v. Works,

Civil Action No. 4:01CV232Y, 2003 WL 21294710, at *1 n. 1 (N.D.

Tex. June 2, 2003) (“The Court will deem the April 28 amended

motion as timely under Rule 59(e), since Greer timely filed the

original Rule 59(e) motion.”), aff’d sub nom Greer v. Litscher, 211

F.    App’x   238    (5th   Cir.   2004)      (per    curiam).         Alternatively,

regardless of whether iiiTec’s motion is reviewed under Rule 59(e)

or Rule 60(b)(6), the court concludes that iiiTec has failed to

establish entitlement to relief.



              (a)    Rule 59(e) Standard of Review

       “Rule 59(e) serves the narrow purpose of allowing a party to

correct     manifest    errors     of   law   or     fact    or   to   present   newly

discovered evidence.”          Templet v. HydroChem, Inc., 367 F.3d 473,


                                         20
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479 (5th Cir.), cert. denied sub nom. Irvin v. Hydrochem, Inc., 125

S. Ct. 411 (2004).         A manifest error of law is an error “that ‘is

plain and indisputable, and that amounts to a complete disregard of

the controlling law.’” Guy v. Crown Equipment Corp., 394 F.3d 320,

325 (5th Cir. 2004) (quoting Venegas-Hernandez v. Sonolux Records,

370 F.3d 183, 195 (1st Cir. 2004) (quoting Black’s Law Dictionary

563 (7th ed. 1999)).             A manifest error of fact “is an obvious

mistake or departure from the truth.”                 Bank One, Texas, N.A. v.

Federal Deposit Insurance Corp., 16 F.Supp.2d 698, 713 (N.D. Tex.

1998).       Rule 59(e) “gives a district court the chance ‘to rectify

its    own    mistakes     in     the    period    immediately    following’      its

decision.”        Banister v. Davis, 140 S. Ct. 1698, 1703 (2020)

(quoting White v. New Hampshire Department of Employment Security,

102 S. Ct. 1162, 1166 (1982)).                 To prevail on a Rule 59(e) motion,

the movant must show either: (1) a manifest error of law or fact;

(2)    an    intervening        change    in    controlling     law;   or   (3)   the

availability      of     new    evidence    not    previously    available.       See

Schiller v. Physicians Resource Group, Inc., 342 F.3d 563, 567 (5th

Cir.   2003).       “A    Rule    59(e)    motion    ‘calls   into     question   the

correctness of a judgment’” and “is not the proper vehicle for

rehashing evidence, legal theories, or arguments that could have

been offered or raised before the entry of judgment.” Templet, 367

F.3d at 478-79.           Relief under Rule 59(e) is an “extraordinary

remedy that should be used sparingly.”                Id. at 479.


                                           21
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     Courts considering motions to reconsider are duty-bound to

“strike the proper balance between two competing imperatives:

(1) finality, and (2) the need to render just decisions on the

basis of all the facts.”      Edward H. Bohlin Co., Inc. v. Banning

Co., Inc., 6 F.3d 350, 355 (5th Cir. 1993).                When additional

evidence not part of the summary judgment record is submitted in

support of a motion for reconsideration, courts consider

     among other things, the reasons for the moving party’s
     default, the importance of the omitted evidence to the
     moving party’s case, whether the evidence was available
     . . . before [the party] responded to the summary
     judgment motion, and the likelihood that the nonmoving
     party will suffer unfair prejudice if the case is
     reopened.

Lavespere v. Niagara Machine & Tool Works, Inc., 910 F.2d 167, 174

(5th Cir. 1990), abrogated on other grounds by Little v. Liquid Air

Corp., 37 F.3d 1069, 1075 n. 14 (5th Cir. 1994)(en banc).               “[A]n

unexcused failure to present evidence available at the time of

summary judgment provides a valid basis for denying a subsequent

motion for reconsideration.”      Templet, 367 F.3d at 479.



           (b)   Rule 60(b)(6) Standard of Review

     Rule 60(b) allows a district court to “relieve a party . . .

from a final judgment” for any one of six enumerated reasons:

     (1)   mistake,   inadvertence,      surprise,    or    excusable
           neglect;

     (2)   newly discovered evidence that, with reasonable
           diligence, could not have been discovered in time
           to move for a new trial under Rule 59(b);


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     (3)    fraud (whether previously called intrinsic or
            extrinsic), misrepresentation, or misconduct by an
            opposing party;

     (4)    the judgment is void;

     (5)    the judgment has been satisfied, released, or
            discharged; it is based on an earlier judgment that
            has been reversed or vacated; or applying it
            prospectively is no longer equitable; or

     (6)    any other reason that justifies relief.

Fed. R. Civ. P. 60(b).            The Fifth Circuit has described Rule

60(b)(6) as a “grand reservoir of equitable power to do justice in

a particular case when relief is not warranted by the [five]

preceding clauses,” and when “‘extraordinary circumstances’ are

present.”    Batts v. Tow-Motor Forklift Co., 66 F.3d 743, 747 (5th

Cir. 1995), cert. denied, 116 S. Ct. 1851 (1996).             See also Webb v.

Davis, 940    F.3d   892,   899    (5th    Cir.   2019)(per   curiam)   (“Rule

60(b)(6) is a catchall provision that allows for the granting of

relief from a judgment for ‘any . . . reason that justifies relief’

other than those reasons listed in Rule 60(b)(1)-(5).”).                  The

extraordinary relief afforded by “Rule 60(b) requires a showing of

manifest injustice and will not be used to relieve a party from the

free, calculated, and deliberate choices he has made.”              Rogers v.

Boatright, 670 F. App’x 386, 387 (5th Cir. 2016) (per curiam)

(quoting Yesh Music v. Lakewood Church, 727 F.3d 356, 363 (5th Cir.

2013)). See also Carter v. Fenner, 136 F.3d 1000, 1007 (5th Cir.),

cert. denied, 119 S. Ct. 591 (1998) (“[R]elief under rule 60(b) is

considered an extraordinary remedy, this court has held that the

rule should be construed in order to do substantial justice.”).

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B.     Analysis

       Plaintiff argues that the court should reconsider and modify

its June 25, 2021 Order and Judgment because (1) “[t]he Order and

Judgment were entered without notice to iiiTec that a motion for

summary       judgment    was   pending,”    and   without   giving   iiiTec   an

“opportunity to respond as allowed by Rules 6 and 56;”46 (2) “[t]he

Order        and   Judgment     also   reflect      an   omission     and/or    a

misunderstanding of the facts, misapplication of the agreements and

law, and weighing the evidence without ever giving iiiTec a chance

to correct or address the court’s concerns;”47 and (3) “[t]he Order

and Judgment inexplicably dispose of all claims, even those that

are pled in the alternative to iiiTec’s alleged implied license.”48



       1.      iiiTec Has Failed to Show that the Order and Judgment
               were Entered Without Authority or Without Giving iiiTec
               Notice or Opportunity to Respond

       Asserting that “[a] court cannot enter a sua sponte summary

judgment without a motion pending, unless it first gives the party

notice of the motion ‘and a reasonable time to respond,’”49 and that

“the Court previously represented to the parties that the letters



       46
            Plaintiff’s Motion to Reconsider, Docket Entry No. 192,
p. 4.        See also id. at 10-12.
       47
            Id. at 4.    See also id. at 12-23.
       48
            Id. at 5.    See also id. at 23-24.
       49
            Id. at 10.

                                        24
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were not being considered as motions for summary judgment,”50 iiiTec

argues that it “was served with the Order and Judgment without any

notice     from   the   Court   and   without   being   given   the   required

‘reasonable time to respond.’”51 iiiTec explains that

     [u]sing Weatherford’s letter, filed on February 15, 2021,
     as a summary judgment motion, iiiTec’s “Reply” was due
     (by prior order) on February 23, 2021, less than ten days
     after the “Motion.” The hearing on the letter briefs was
     held on February 25, 2021, only ten days after the
     “Motion”. Considering the February 15, 2021[,] letter as
     a motion for summary judgment, iiiTec was given less than
     the ten days required by Rule 6 to respond.

          iiiTec was not afforded a chance to fully brief the
     law and facts. The lack of notice and lack of time to
     respond are clear violations of the notice procedures and
     led to improper disposition of iiiTec’s claims without
     affording iiiTec due process.52

Asserting that “[t]here is no authority cited which allows a change

in judges as the sole reason to overrule a prior order,”53 iiiTec

argues that “[i]n addition to failing to analyze or discuss any

circumstance which shows that ‘justice requires’ changing the prior

ruling, the Court did not provide iiiTec the required notice and an

opportunity to respond before the Court revised its ruling.”54            The


     50
          Id. at 10.
     51
          Id.
     52
          Id. at 10-11.
     53
          Id. at 11-12.
     54
      Id. at 12. See also Plaintiff’s Reply, Docket Entry
No. 196-1, p. 1 (arguing that “iiiTec agreed to a shortened
schedule for letter briefs, not a motion for summary judgment;
                                                   (continued...)

                                       25
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court is not persuaded by these arguments because § III.B.1 of the

June 25, 2021, Memorandum Opinion and Order addresses the court’s

authority to act,55 and because iiiTec’s arguments omit and ignore

the procedural history of this case.



             (a)   iiiTec Received Notice and Opportunity to Respond

     On December 1, 2020, the court entered a Memorandum and Order

(“December 1, 2020, Memorandum and Order”) (Docket Entry No. 144)

denying Plaintiff’s motion for summary judgment on Counts I and II,

and granting Weatherford’s motion for summary judgment in limited

part.      In pertinent part the court held that the TDA did not

provide iiiTec an express license to Assigned IP,56 that MOC is a

necessary party with respect to Counts I, II, and III,57 that

Weatherford was not entitled to summary judgment on Counts I, II,

and III because Weatherford failed to show beyond dispute that

iiiTec does not have an implied exclusive license to Assigned IP,58



     54
      (...continued)
and the agreement was not without objection,” and p. 2 (arguing
that “The Order in issue (Doc. 179) contradicts [] the court’s
prior summary judgment order (Doc. 144) and statements, without
explanation”).
     55
      Memorandum Opinion and Order, Docket Entry No. 179,
pp. 18-20.
     56
          Memorandum and Order, Docket Entry No. 144, pp. 23-26.
     57
          Id. at 47.
     58
          Id. at 13-18.

                                    26
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and that if iiiTec has an implied exclusive license to Assigned IP,

then Weatherford purchased the Assigned IP subject to iiiTec’s

implied license.59

     On December 17, 2020, the court conducted a hearing during

which Defendants asserted that

     there is one core issue that we should take up, we
     believe, over the next 60 days or so, get a motion for
     summary judgment on file by or before March 31 that we
     think will resolve the case.

          And the issue is this, Your Honor, [it] is the issue
     of the implied license. Going back and looking at the
     pleadings in this case up and to the second amended
     complaint there were no allegations on implied license.
     Implied license was not briefed by the parties in either
     motion for summary judgment.      Clearly it’s in Your
     Honor’s order and we appreciate that. And we think, you
     know, we could knock that issue out on a schedule like
     you gave us for this last bit[] of the case, . . . get
     discovery done on that issue, get the briefing done on
     that issue, present it to the Court by no later than the
     end of March understanding that if indeed we prove, and
     we definitely believe we’re going to prove[, that] there
     was no implied license, this case is over.60

                                 . . .

          . . . Your Honor, from our perspective it only makes
     sense that we take this one last bite, it’s on the
     implied license as set forth in the Court’s order
     regarding [MOC]’s conduct, get the discovery done on that
     and get it briefed, short, sweet, efficient, allow the
     Court to make a ruling on that, and we believe that’s
     likely, highly likely to end this case and that’s what we


     59
      Id. at 37-39, and 43 (“genuine questions of material fact
exist regarding whether [Plaintiff] was granted a license to the
Assigned IP and whether Weatherford owns the Assigned IP subject
to [Plaintiff’s] rights”).
     60
      Transcript of Pretrial Conference, Docket Entry No. 152,
pp. 8:15-9:9.

                                    27
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     would ask to do on behalf of Weatherford.61

     iiiTec responded that from its

     perspective the prior order on summary judgment is pretty
     clear and I think implied license would be an issue of
     fact anyway, but I think Footnotes 52 and 53 set out, you
     know, competing evidence which, you know, obviously on
     summary judgment the Court can’t weigh that evidence
     anyway, so I’m not entirely sure what specifically
     Mr. Donley thinks, or Weatherford Tech thinks that
     they’ll be able to prove on a fact issue like that in a,
     you know, 30-day time period in discovery.

          But obviously I mean I think it’s part of the
     broader case, it’s something that should be presented to
     the jury . . .62

     After informing the parties that she would be taking inactive

status on March 31, 2021, and, therefore, would not be able to

decide another motion for summary judgment,63 the court instructed

the parties to “use these next two months to get a little discovery

done with shortened deadlines and then get the parties’ positions

on whether there’s a license of some sort or not.           We’ve already

dealt with the express license of course.”64 Stating that this time

would be spent “to figure out what the implied license is, if it

was — and whether it was created,”65 the court told iiiTec’s

counsel: “I know you’re probably not happy with this, but I think


     61
          Id. at 9:16-23.
     62
          Id. at 10:22-11:7.
     63
          Id. at 16:8-17:17.
     64
          Id. at 23:24-24:2.
     65
          Id. at 25:5-7.

                                    28
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that it will ultimately be a good idea. . . . If there’s a fact

issue, you go to the rest of World War III.          If there is no fact

issue, at least from where I sit you’ll find out.”66

     After additional discussion the court and the parties agreed

to a schedule for discovery and briefing on the implied license

issue.67     During that discussion iiiTec agreed to be the first to

file a brief in support of the creation and terms of an implied

license, and the court set due dates for Defendants to file a brief

in support of their argument that no implied license exists, and

for iiiTec to file a reply.68

     On February 8, 2021, iiiTec filed a “letter brief in support

of the creation and terms of an implied license in favor of iiiTec”

(“Plaintiff’s Letter Brief”) (Docket Entry No. 160).          On February

15, 2021, Defendants filed a letter brief (“Defendants’ Letter

Brief”) arguing — as they had at the December 17, 2020, hearing —

that “iiiTec cannot meet its burden to prove that it has, or ever

had, an implied exclusive license to the Assigned IP,”69 and that

“iiiTec has no exclusive implied license to Assigned IP from [MOC]




     66
          Id. at 25:8-12.
     67
      Id. at 25:13-31:13. See also Telephone Hearing Minutes
and Order, Docket Entry No. 150.
     68
      Id. at 30:24-31:8. See also Telephone Hearing Minutes and
Order, Docket Entry No. 150.
     69
          Defendants’ Letter Brief, Docket Entry No. 161, p. 1.

                                    29
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as a matter of law and the Court should dismiss iiiTec’s claims.”70

On February 18, 2021, iiiTec requested an extension of time to file

its   reply     brief   because   of   inclement   weather   (Docket   Entry

No. 165).       The court granted iiiTec’s request and postponed the

hearing to February 25, 2021 (Docket Entry No. 166).           On February

23, 2021, iiiTec filed a Reply Letter Brief “in Support of its

Letter Brief regarding the creation and terms of an implied license

in favor of iiiTec” (“Plaintiff’s Reply Letter Brief”) (Docket

Entry No. 168).

      On February 25, 2021, the court held a hearing “because

Weatherford contends that the issue of implied license would end

this case if the Court rules in its favor.”71

      On March 4, 2021, the case was reassigned to the undersigned

judge pursuant to Special Order No. 2021-10 (Docket Entry No. 175).

      The procedural history of this case shows that iiiTec was not

only placed on notice that Defendants sought summary judgment on

the implied license issue during the December 17, 2020, hearing,

but that on that date iiiTec agreed to the schedule pursuant to

which it would file an opening brief in support of the creation and

terms of an implied license by February 8, 2021, Defendants would

respond by February 15, 2021, iiiTec would file a reply by February

19, 2021, and the court would conduct a hearing at which the


      70
           Id. at 19 ¶ 5.
      71
           Oral Argument, Docket Entry No. 182, p. 3:4-6.

                                       30
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parties could present oral argument.72         iiiTec’s argument that it

lacked notice and opportunity to respond to Defendants’ request for

summary judgment on the implied license issue fails to mention not

only the December 17, 2020, hearing at which Defendants argued the

implied license issue could resolve the entire case, but also its

own agreement to file an opening brief in support of the creation

and terms of an implied license by February 8, 2021.              Nor does

iiiTec cite any authority requiring the court to have notified the

parties before issuing the June 25, 2021, Order and Judgment.

     iiiTec does not argue that the court’s failure to provide

notice    of   its   intent   to   resolve   the   implied   license   issue

prejudiced it, or cite evidence or arguments that it would have

raised had it received notice of the court’s intent to rule.

Absent argument or evidence that the court’s failure to notify

iiiTec of its intent to rule prevented iiiTec from presenting all

of its summary judgment evidence on the implied license issue, any

error is harmless.      See Nowlin v. Resolution Trust Corp., 33 F.3d

498, 504 (5th Cir. 1994) (quoting Leatherman v. Tarrant County

Narcotics Intelligence & Coordination Unit, 28 F.3d 1388, 1398 (5th

Cir. 1994) (“When there is no notice to the nonmovant, summary

judgment will be considered harmless if the nonmovant has no

additional evidence or if all of the nonmovant’s evidence is


     72
      Transcript of Pretrial Conference, Docket Entry No. 152,
pp. 30:24-31:8. See also Telephone Hearing Minutes and Order,
Docket Entry No. 150.

                                      31
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reviewed by the appellate court and none of the evidence presents

a genuine issue of material fact.”)).         Accordingly, the court is

not persuaded that iiiTec was served with the June 25, 2021, Order

and Judgment without being given notice or opportunity to respond

to Defendants’ arguments. Nor is the court persuaded that iiiTec’s

contention   that   it   lacked   notice   and   opportunity   to   respond

constitutes manifest error of law or fact entitling iiiTec to

relief under Rule 59(e), or extraordinary circumstances entitling

iiiTec to relief under Rule 60(b)(6).



          (b)   The Order and Judgment Did Not Change a Prior
                Ruling Without Showing that Justice so Requires

     iiiTec’s arguments that the court failed to cite authority

that allows a change in judges as the sole reason to overrule a

prior order, and that the court failed to analyze or discuss any

circumstance showing that justice required changing the prior

judge’s ruling that the implied license issue was a fact issue for

trial,73 omit and ignore the procedural history of this case.

     The holdings in the December 1, 2020, Memorandum and Order

that Weatherford was not entitled to summary judgment on Counts I,

II, and III because Weatherford failed to show beyond dispute that




     73
      Plaintiff’s Motion to Reconsider, Docket Entry No. 192,
pp. 11-12. See also Plaintiff’s Reply, Docket Entry No. 196-1,
pp. 1-2.

                                    32
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iiiTec does not have an implied exclusive license to Assigned IP,74

and that if iiiTec has an implied exclusive license to Assigned IP,

Weatherford purchased the Assigned IP subject to that license,75

were necessarily based on evidence and arguments made at that time.

When at the December 17, 2020, hearing Defendants argued that the

implied license issue was a core issue, which if taken up on a

expedited basis could resolve the entire case, iiiTec responded

that the implied license issue was one that the court had already

decided was a fact issue for the jury.76        Unpersuaded by iiiTec’s

response, the court ordered the parties to undertake discovery and

submit briefs limited to the implied license issue on an expedited

basis.     The court also scheduled a hearing for February 24, 2021,

at which the parties could present oral argument on the implied

license issue.77     At iiiTec’s request the briefing schedule and

hearing date were both extended.78



     74
          Memorandum and Order, Docket Entry No. 144, pp. 13-18.
     75
      Id. at 37-39, and 43 (“genuine questions of material fact
exist regarding whether [Plaintiff] was granted a license to the
Assigned IP and whether Weatherford owns the Assigned IP subject
to [Plaintiff’s] rights”).
     76
      Transcript of Pretrial Conference, Docket Entry No. 152,
pp. 8:15-11:7.
     77
      Id. at 29:1-31:15. See also Telephone Hearing Minutes and
Order, Docket Entry No. 150.
     78
      See Email from iiiTec’s counsel requesting extension due
to inclement weather (Docket Entry No. 165); and Order granting
iiiTec’s request (Docket Entry No. 166).

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      At the beginning of the February 25, 2021, hearing the court

reminded the parties that “this case is getting transferred to

another judge.”79      Asserting that “it’s a Weatherford motion, and

I   would      ordinarily    let   Weatherford   go   first,”80   the   court

nevertheless said that

      I’m going to let iiiTech make a brief statement, and the
      statement needs to address what it thinks the Court
      should rely on to find whether or not there is an implied
      license and, frankly, what it contains or what it
      includes, and when it arose.     And I need to get your
      basic theory out here, then I’ll listen to Weatherford,
      and then iiiTech will get a chance to respond.81

At the end of the hearing the court told the parties

      I’m just going to give you some feedback. This isn’t a
      formal ruling. You’re never going to make a motion in
      front of me, but I assume you’re going to make a motion
      in front of other people. So this is feedback to you-all
      for whatever you want to use it for. . .

           There is no question in [my] mind that there needs
      to be evidence presented to define an implied contract.
      And while I have not read the cases that the defense
      Weatherford cites, the authorities that I’m familiar with
      make it clear that an implied contract is still a
      contract. And so, there needs to be definition of the
      contract, and the elements need to be met.

                                     . . .

           I am not seeing [ii]iTech’s meeting its burden of
      establishing the material terms of the implied license.
      This is not a case where the issue is, is it March or is
      it April? This is a case where there are a span of many
      years, multiple years. And I’m just not seeing enough


      79
           Oral Argument, Docket Entry No. 182, p. 4:9-19.
      80
           Id. at 5:10-11.
      81
           Id. at 5:12-19.

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  definiteness to the contract that is claimed by iiiTech
  to have been implied to rise [to] the level of a
  contract.

       If there was a failure by [MOC] to actually
  implement the license that it said it intended to
  provide, there may be a failure of contract, . . .
  There’s no question that Marathon had the ability to
  transfer the license to In-Depth, and it did so.

       The concept of an implied license or implied
  contract, which is really what’s in issue, is at least
  based on the limited evaluation I’ve done, simply does
  not meet the requirements that would need to be proved by
  iiiTech to establish a contract/license that could meet
  the legal requirement.

       I’m not — I’m honestly not understanding the
  arguments by iiiTech about meeting of the minds, or the
  duration. . .

       There is no question [MOC] licensed to In-Depth the
  assigned IP in 2010. What happened before that, I don’t
  really know.

       I have definitely not in the past . . . resolved the
  implied license issue, and I think iiiTech and everyone
  else agrees that I said that there was a fact question as
  to whether or not there was an implied license. And so,
  I view the exercise through these letters to be an effort
  to flesh that issue out.

                                . . .

       So this is not a ruling — . . . but, honestly, I’m
  just not — I’m just not seeing an implied contract.

       So my — that’s my reaction. It’s not an official
  ruling. As I’ve said, I don’t have the benefit of having
  read all of the parties’ cases from particularly those
  that have been set forth today, but I think the parties
  wanted some feedback, and that’s what I’ve given them.

       I guess the good news for iiiTech is I’m not going
  to be the decider, but the vague efforts to create a
  contract or a license I don’t think are going to make it.
  But, again, that would be something that you can either
  decide to make a motion on or to deal with, with your
  next assigned judge.

                                  35
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                                          . . .

      . . . I have indulged the parties on this and, frankly,
      my own curiosity, and I’ve expressed some views
      informally. And the new judge can say: Forget it; or can
      say: Yes, I get it with what she said. And then key-off
      of that. But they will have to write something.82

      iiiTec’s arguments that the June 25, 2021, Order and Judgment

represent an overruling of the prior judge’s holding that the

implied license issue presented an issue of fact for trial is not

persuasive.        The June 25, 2021, Order and Judgment are not only

based on arguments and evidence presented in the briefs filed and

the   February      25,    2021,    hearing,      but   they     comport    with    the

observations made by the court at the close of the February 25,

2021, hearing.           The June 25, 2021, Order and Judgment are this

court’s written resolution of the summary judgment issue left

unresolved when the prior judge took inactive status. Accordingly,

iiiTec’s argument          that    the   court’s   June    25,    2021,     Order   and

Judgment were issued based solely on a change of judge, without

analysis      or   discussion      of    circumstances     showing    that      justice

required changing the prior ruling that the implied license issue

was a fact issue for trial, is not persuasive and borders on being

frivolous.         See    Moses    H.    Cone   Memorial   Hospital        v.   Mercury

Construction Corp., 103 S. Ct. 927, 935 (1983) (“every order short

of a final decree is subject to reopening at the discretion of the



      82
           Id. at 56:3-61:5.

                                           36
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district judge”); Stoffels ex rel. SBC Telephone Concession Plan v.

SBC Communications, Inc., 677 F.3d 720, 727-28 (5th Cir.), cert.

denied, 113 S. Ct. 318 (2012) (quoting Zarnow v. City of Witchita

Falls, Texas, 614 F.3d 161, 171 (5th Cir. 2010), cert. denied, 131

S. Ct. 3059 (2011) (“[A] trial court [is] free to reconsider and

reverse [interlocutory orders] for any reason it deems sufficient,

even in the absence of new evidence or an intervening change or in

clarification of the new law.”)).        Nor is the court persuaded that

iiiTec’s argument that the June 25, 2021, Order and Judgment were

issued based solely on a change of judge, without analysis or

discussion of circumstances showing that justice required changing

the December 1, 2020, ruling constitutes either manifest error of

law or fact entitling iiiTec to relief under Rule 59(e), or

extraordinary circumstances     entitling iiiTec to relief under Rule

60(b)(6).



     2.     iiiTec Has Failed to Show that the Order and Judgment
            Reflect an Omission and/or a Misunderstanding of the
            Facts, a Misapplication of the Agreements and Law, or a
            Weighing of the Evidence that Entitles iiiTec to Relief
            under Rule 59(e) or Rule 60(b)(6)

     In support of its argument that the June 25, 2021, “Order and

Judgment . . . reflect an omission and/or a misunderstanding of the

facts, misapplication of the agreements and law, and weighing the




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evidence,”83 iiiTec makes the following five assertions: (1) “the

Court does not analyze what terms are material for creating a

contract;”84 (2) “iiiTec has sufficient evidence of all material

terms of an implied license;”85 (3) “[t]he supposed deficient terms

are not sufficient to defeat the implied license;”86 (4) “[t]he

parties intended iiiTec to hold exclusive rights for drilling and

coiled tubing;”87 and (5) “[t]he TDA Assigned IP rights asserted are

not in the In-Depth-iiiTec License.”88      These assertions all simply

restate arguments that iiiTec raised in its February 2021 briefing,

and the court rejected in the June 25, 2021, Memorandum Opinion and

Order.89

     83
      Plaintiff’s Motion to Reconsider, Docket Entry No. 192,
p. 4. See also id. at 12-23.
     84
          Id. at 1 and 12.
     85
          Id. at 2 and 15.
     86
          Id. at 2 and 17.
     87
          Id. at 2 and 20.
     88
      Id. at 2 and 22. See also Plaintiff’s Reply, Docket Entry
No. 196-1, p. 5 (arguing that “it is clearly not true that the
Assigned IP is ENTIRELY included in the In-Depth-iiiTec license,
because the definitions in the various agreements are NOT the
same”).
     89
      See Memorandum Opinion and Order, Docket Entry No. 179,
§ III, pp. 10-40, especially § III.A, subtitled, “Applicable
Law,” at 11-18, and § III.B.2, subtitled, “Plaintiff Has Failed
to Cite Evidence Capable of Establishing Either the Existence or
Material Terms of an Implied Exclusive License”), pp. 20-38,
including subheadings (a) Plaintiff Fails to Cite Evidence
Capable of Establishing the Existence of an Implied License,
pp. 21-26; (b) Plaintiff Has Failed to Cite Evidence Capable of
                                                   (continued...)

                                    38
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     Although     iiiTec     supports      its     five     assertions with some

evidence and caselaw not cited in its February 2021 briefing,

iiiTec fails to argue or show that any of the newly cited evidence,

or all but one of the newly cited cases, were not available in

February of 2021.     Nor does iiiTec argue or show that the only case

it cites that postdates February of 2021, BPX Operating Co. v.

Strickhausen, 629 S.W.3d 189 (Tex. 2021), effected a substantive

change in controlling law that warrants reopening this case.

     In Strickhausen the Texas Supreme Court affirmed an appellate

court’s   finding     that    a    fact        issue   existed     as    to   whether

Strickhausen, a mineral lessor, had ratified a pooling agreement

that modified an existing contract by accepting royalty payments

calculated   on   a   pooling     basis.         Id.   at   192.        Stating   that

“[w]hether two parties have formed a contract is, of course, a

question of the parties’ intent,” id. at 196, and that “[l]ikewise,

whether one party has ratified changes to a contract is also a

matter of intent,” id., the court asserted that “parties seeking to

establish implied ratification or ratification by conduct must

point to words or actions that ‘clearly evidenc[e] an intention to

ratify.’” Id. at 197-98.          The court explained that



     89
      (...continued)
Establishing Material Terms of an Implied License, pp. 26-33; and
(c) Plaintiff Has Failed to Cite Evidence Capable of Establishing
that Any Implied License was Exclusive, pp. 34-36. See also
Defendants’ Response, Docket Entry No. 195, pp. 12-21 (cogently
refuting each of iiiTec’s five assertions).

                                          39
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       [a] clear showing requirement for implied ratification is
       consistent with the well-established standard for proving
       waiver by conduct.    Ratification and waiver have been
       called “opposite sides of the same coin.” . . . Both can
       arise by implication from a party’s actions, and both
       involve ascribing unspoken intent to a party and thereby
       altering his legal rights.      It is well-settled that
       ‘[w]hile waiver may sometimes be established by conduct,
       that conduct must be unequivocally inconsistent with
       claiming a known right.” . . . If implied waiver by
       conduct must be established “unequivocally,” it stands to
       reason that implied ratification by conduct should be
       subject to a similar requirement. Thus, as the party
       asserting implied ratification, BPX must show that
       Strickhausen’s behavior clearly evidenced an intent to
       ratify the unauthorized pooling.

Id. at 198 (citations omitted).

       Strickhausen stands for the well-established principle that

whether two parties have formed a contract is a question of intent.

To the extent that Strickhausen represents a change in controlling

law, that change does not benefit iiiTec because it requires

iiiTec, as the party asserting the existence of an implied license,

to    cite   evidence   capable    of   establishing   that   MOC’s   conduct

unequivocally established an intent to provide iiiTec an implied

exclusive license to Assigned IP.              For the reasons stated in

§§ III.B.2(a) and (c) of the June 25, 2021, Memorandum Opinion and

Order, the court has already concluded that iiiTec failed to cite

evidence capable of establishing either the existence of an implied

license, or that any implied license was exclusive.90

       Nevertheless, iiiTec argues that


       90
      Memorandum Opinion and Order, Docket Entry No. 179,
pp. 21-26 and 34-36.

                                        40
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       [p]rior to the TDA, [MOC] confirmed its intent for iiiTec
       to be the exclusive partner in regards to the patent
       portfolio. Around the time of the TDA, the language used
       by [MOC] in describing iiiTec changes from simply being
       a patent licensee to being a “project partner” and/or
       “exclusive partner” and patent portfolio is replaced with
       phrases like “RFID technology” and “RFID development.”
       In the TDA, iiiTec is granted rights and obligations
       exclusively related to drilling and coiled tubing. On
       the TDA Program, communications, and development
       documents, drilling tools are repeatedly referred to as
       being “iiiTec” technology. [MOC] knew of the MDA and
       that iiiTec understood its agreements with [MOC] allowed
       iiiTec [to] grant exclusive rights to Weatherford for
       drilling.

                                         . . .

            Like the plaintiff in Strickhausen, [MOC] actually
       accepted the money paid from iiiTec to [MOC]. Although
       [MOC] currently contends it never agreed to exclusivity
       for iiiTec in regards to the drilling field and coiled
       tubing field, the course of performance over years, like
       the surface owner cashing the checks in Strickhausen,
       indicates that [MOC] intended for iiiTec to have
       exclusivity.   Like the surface owner’s explanation in
       Strickhausen, even if the Defendants’ explanations are
       “reasonable” it, at most, creates a fact question as to
       whether [MOC] granted iiiTec an implied exclusive license
       by accepting iiiTec’s payment and referring to iiiTec as
       “exclusive” and as its “partner.”91

       iiiTec’s       argument   fails    to     recognize   that    as    the    party

asserting the existence of an implied license it bears the burden

of proving that existence, and that to survive Defendants’ motion

for summary judgment, iiiTec must cite evidence of MOC’s conduct

from    which     a    reasonable   fact       finder   could       find   that    MOC

unequivocally intended iiiTec to have an exclusive license to

Assigned IP.          iiiTec has failed to carry its burden of citing

       91
      Plaintiff’s Motion to Reconsider, Docket Entry No. 192,
pp. 20-22 (internal citations to the record omitted).

                                          41
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evidence capable of creating a fact issue for trial because it is

undisputed that when MOC engaged in the conduct that iiiTec cites

as evidence that MOC intended iiiTec to have an exclusive license

to Assigned IP, iiiTec held an express license to MOC’s technology

from    In-Depth,       and   that   iiiTec   had   a   separate,   development

agreement with MOC, i.e., the TDA, which required iiiTec to make

the payment that MOC accepted.           It is also undisputed that iiiTec

lost its express license to MOC’s technology in 2017 due to non-

payment.        iiiTec argues that despite having lost its express

license to MOC technology due to non-payment, it nevertheless

remained licensed to Assigned IP owned by MOC pursuant to an

implied exclusive license created by the parties’ course of conduct

during the time that iiiTec held an express license to MOC’s

technology       from   In-Depth.      iiiTec   made    this   argument   in   its

February 2021 briefing, and the court considered and rejected it in

the June 25, 2021, Memorandum Opinion and Order.92

       Although iiiTec cites two cases not previously cited, Harness

v. Rossler, No. 08-CV-0988-P, 2009 WL 10704475 (N.D. Tex. March 31,

2009), and Hunn v. Dan Wilson Homes, Inc., 789 F.3d 573 (5th Cir.),

cert. denied, 136 S. Ct. 592 (2015), which iiiTec contends support

its argument because they hold that the existence of an express

license can speak to the parties’ intent to create an implied

license, and that the existence of an express license does not



       92
            Memorandum Opinion and Order, Docket Entry No. 179, p. 38.

                                         42
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preclude an implied license as a matter of law,93 those cases are

distinguishable on their facts because neither involved a plaintiff

like iiiTec who lost an express license to the material at issue

for non-payment, and then claimed an implied license based on the

parties’ course of conduct during the time that the express license

was in effect. In an effort to work around the court’s rejection of

its argument, iiiTec attempts to distinguish rights that it held

pursuant to the express license from In-Depth, from rights that it

held pursuant to the alleged implied exclusive license it claims to

have held from MOC.

     Asserting that the “Assigned IP rights . . . are not in the

In-Depth-iiiTec License,”94 iiiTec argues that

     [t]here is no evidence that ANY information iiiTec claims
     was included under the In-Depth-iiiTec License. For the
     Court’s conclusion to be correct, the Assigned IP would
     need to be entirely within the definition of Proprietary
     Data, and the Court has done nothing to analyze whether
     it is. [MOC] admits Proprietary Data does not include
     Assigned IP but merely contends it was their “intent” to
     include it. Given the multiple agreements related to the
     RFID technologies in this time period, granting various
     parties different rights, such a conclusion, without
     evidence, is a grave error.      [MOC]’s intent must be
     decided by the jury.

          Plaintiff certainly agrees that there was “a
     license” from In-Depth to iiiTec but concluding that it
     covers “all” of [MOC]’s RFID technology [] is conclusory
     and unsupported. The ruling is inconsistent with [MOC]’s
     deposition testimony and evidence in this case.95

     93
          Plaintiff’s Motion to Reconsider, Docket Entry No. 192,
p. 14.
     94
          Id. at 2 and 22-23.
     95
          Id. at 22.   See also Plaintiff’s Reply, Docket Entry No.
                                                        (continued...)

                                    43
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In support of this argument, iiiTec cites the deposition of MOC

technical consultant, Philip Snider (“Snider”), who iiiTec argues

“‘admits’ Proprietary Data does not include Assigned IP but merely

contends it was their ‘intent’ to include it.”96

     iiiTec’s     citations   from   the   Snider   Deposition    are   not

sufficient to raise a fact issue for trial regarding the scope of

the license that iiiTec held from In-Depth because that license was

not limited to “Proprietary Data,” but instead, granted iiiTec “a

non-exclusive, indivisible, worldwide sublicense to make, have

made, sell, and offer to sell the RFID Reverse Application Drilling

Assembly and to sell, offer to sell, and use the RFID Reverse

Application Methods.”97 The License Agreement that iiiTec held from

In-Depth expressly defines the terms “RFID Reverse Application

Drilling Assembly,” and “RFID Reverse Application Methods.                  In

pertinent part “RFID Reverse Application Drilling Assembly” is

defined to mean “technology relating to assemblies and systems for

performing an operation during drilling of a well using an RFID to




     95
      (...continued)
196-1, pp. 5-7.
     96
      Plaintiff’s Motion to Reconsider, Docket Entry No. 192,
p. 22 n. 111 (citing Oral and Videotaped Deposition of Philip M.
Snider (“Snider Deposition”), 99:2-4, 218:19-221:2, Exhibit 2 to
Plaintiff’s Motion to Reconsider, Docket Entry No. 193-1, pp. 20,
and 32-35).
     97
          See License Agreement, § 2.01, Docket Entry No. 115-5,
p. 7.

                                     44
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actuate a process tool positioned in the well,”98 and “RFID Reverse

Application Methods” is defined to mean “technology relating to

methods for performing a process operation in a well using an RFID

to actuate a process tool positioned in a well.”99 Both definitions

end with the statement that “‘Patent Rights’ and ‘Proprietary Data’

define portions of” the licensed matter.100                   Because “Proprietary

Data” represents only a portion of the MOC technology that In-Depth

licensed to iiiTec, Snider’s testimony that the “Proprietary Data”

referenced in the license did not include Assigned IP is not

evidence that the license did not include Assigned IP and therefore

is not sufficient to raise a fact issue for trial.

       Moreover,         since    iiiTec’s   corporate    representative,     Tait,

testified during his deposition that all of the                    Assigned IP at

issue        in   this    case    “relates    to    assemblies    and   systems    or

technologies relating to methods for performing an operation during

drilling of a well using an RFID to actuate a process tool,”101

iiiTec cannot cogently argue that Assigned IP does not fall within

the definitions of “RFID Reverse Application Drilling Assembly,”

and “RFID Reverse Application Methods” contained in the license it

held    from      In-Depth       because   that    argument   conflicts   with    the


       98
            Id. § 1.03, Docket Entry No. 115-5, p. 3.
       99
            Id., § 1.04, Docket Entry No. 115-5, p. 4.
       100
             Id., §§ 1.03-1.04, Docket Entry No. 1115-5, pp. 3-4.
       101
       Oral and Videotaped Deposition of Stuart Tait, (“Tait
Deposition”), pp. 26:8-27:2, Docket Entry No. 162-1, pp. 11-12.

                                             45
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testimony of its own witness.        Any argument that iiiTec may be

making or attempting to make that Assigned IP was not licensed from

MOC to In-Depth fails for essentially the same reasons.

     The scope of the license that iiiTec held from In-Depth

covered technology relating to assemblies and systems or methods

for performing an operation during drilling of a well using RFID

technology,    and   separate   definitions   for   “Patent    Rights”   and

“Proprietary     Data”   defined   only   “portions”   of     the   licensed

technology.102   In 2010 the scope of the license that MOC granted to

In-Depth was amended to include substantially similar language, by

revising the first sentence of the definition of the licensed “On

Depth Positioning Technology” to state:

     methods, apparatus, assemblies, systems and wells for
     determining location within a tubular, for example depth
     in a cased well bore, pipeline or the like, using RFID
     technology; assemblies and processes for identifying and
     tracking assets; and, methods and systems for performing
     operations in a well, . . . including transportation of
     an identification device, for example RFID, in a well.103

The second sentence of the definition remained unchanged stating:

“‘Patent Rights’ and ‘Proprietary Data’ define portions of the On

Depth Positioning Technology.”104 The conclusion that the Assigned

IP at issue was included in the license that In-Depth held from MOC


     102
       License Agreement, §§ 1.03-1.04, 201, Docket Entry
No. 115-5, pp. 3-4.
     103
       Amended and Restated License Agreement Addendum No. 2,
¶ 1, Docket Entry No. 98-1, p. 30.
     104
       Amended and Restated License Agreement, §§ 1.03, Docket
Entry No. 98-1, p. 3.

                                    46
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was expressed by the court at the oral argument held on February

25, 2021, when the judge stated, “There is no question [MOC]

licensed to In-Depth the assigned IP in 2010.”105

       Because the record before the court undisputably shows that

the Assigned IP falls within the scope of both the license from MOC

to In-Depth and the license from In-Depth to iiiTec, iiiTec’s

arguments to the contrary are unavailing.              iiiTec has therefore

failed to show that the June 25, 2021, Order and Judgment reflect

an     omission        and/or   a   misunderstanding   of    the   facts,      a

misapplication of the agreements and law, or a weighing of the

evidence entitling it to relief under Rule 59(e) or Rule 60(b)(6).



       3.       iiiTec Has Failed to Show that the Court Incorrectly
                Disposed of All Claims

       iiiTec argues that the court incorrectly granted summary

judgment on all of its claims without addressing the “right to a

license” claims asserted alternatively in Counts 2 and 3 of the

Third        Amended    Complaint.106    iiiTec   argues    that   the   court

incorrectly granted summary judgment on those parts of Counts 2 and

3 in which iiiTec alleged that, in the absence of either an express

or implied license, MOC was required to grant iiiTec a license;107



       105
             Oral Argument, Docket Entry No. 182, pp. 57:25-58:1.
       106
       Plaintiff’s Motion to Reconsider, Docket Entry No. 192,
pp. 23-24.
       107
       Third Amended Complaint, Docket Entry No. 146, p. 40
¶¶ 124-25, and p. 42 137.

                                        47
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that if MOC licensed the Assigned IP to In-Depth, then In-Depth

failed in its separate obligation to sublicense the Assigned IP to

iiiTec;108 and /or that iiiTec is entitled to a license from

Weatherford.109     Asserting that each of these alternative claims

remains     outstanding,   iiiTec   argues   that   the   court   mistakenly

dismissed the entire case “with prejudice,” and that even without

reconsideration of the Order and Judgment, it is error to dismiss

iiiTec’s claims that are not tied to or otherwise related to the

implied license.110

     Contrary to iiiTec’s argument, § III.C of the June 25, 2021,

Memorandum Opinion and Order, titled “Application of the Court’s

Implied License Conclusions to the Claims Asserted in Plaintiff’s

Third Amended Complaint,” forecloses iiiTec’s argument that the

court incorrectly granted summary judgment on all of iiiTec’s

claims.111     In that section the court explained that

          Plaintiff’s Third Amended Complaint (Docket Entry
     No. 146), reasserts the same claims asserted in the
     Second Amended Complaint, and addressed in the court’s
     December 1, 2020, Memorandum and Opinion (Docket Entry
     No. 144), i.e., claims for declaratory judgment (Counts
     I and II), a claim for breach of contract regarding the
     TDA (Count III), and a claim for attorney’s fees pursuant
     to the Federal Declaratory Judgment Act (Count IV).112



     108
           Id. at 40-41 ¶ 126 and 42-43 ¶ 138.
     109
           Id. at 41 ¶ 129, 42 ¶ 137, 43 ¶ 142, and 43-44 ¶ 144.
     110
           Plaintiff’s Motion to Reconsider, Docket Entry No. 192,
p. 24.
     111
       Memorandum Opinion and Order, Docket Entry No. 179,
pp. 39-40.
     112
           Third Amended Complaint, Docket Entry No. 146, pp. 36-44.

                                     48
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            The court’s December 1, 2020, Memorandum and Opinion
     denied Defendants’ motion for summary judgment on
     Plaintiff’s two claims for Declaratory Judgment and
     breach of contract claim (Counts I-III) based on
     conclusions that Weatherford failed to show beyond
     dispute that Plaintiff does not have an implied exclusive
     license to Assigned IP.113 The court denied as premature
     Weatherford’s motion for summary judgment on the claim
     asserted in Count IV for attorney’s fees pursuant to the
     Declaratory Judgment Act.114 The court’s conclusion that
     Plaintiff is unable to carry its burden of proving that
     MOC granted it an implied exclusive license to the
     Assigned IP is dispositive of the claims that Plaintiff
     has asserted in this action. Absent an implied exclusive
     license to the Assigned IP, Plaintiff lacks either
     constitutional or prudential standing to seek Declaratory
     Judgment that Weatherford does not have rights to any
     “Assigned IP” subject to iiiTec’s exclusive license
     (Count I), or, alternatively, that Plaintiff’s exclusive
     license of the “Assigned IP” is valid and binds
     Weatherford (Count II),115 and, therefore, cannot be
     entitled to attorney’s fees pursuant to the Federal
     Declaratory Judgment Act (Count IV).116 Absent an implied
     exclusive license to the Assigned IP, Plaintiff also
     lacks standing to assert a claim for breach of contract
     regarding the TDA (Count III).117 Accordingly, the court
     concludes that Defendants are entitled to summary
     judgment on all of Plaintiff’s claims because Plaintiff
     is unable to carry of its burden of proving that MOC
     granted it an implied exclusive license to the Assigned
     IP.118



     113
           Id. at 13-18.
     114
           Id. at 47.
     115
       Memorandum and Order, Docket Entry No. 144, pp. 12-18, 23-
24, and 37.
     116
           Id. at 43.
     117
           Id. at 39-41.
     118
       Memorandum Opinion and Order, Docket Entry No. 179,
pp. 39-40 (citing Memorandum and Order, Docket Entry No. 144, and
Third Amended Complaint, Docket Entry No. 146).

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     For the reasons stated in the preceding sections of this

Memorandum Opinion and Order, the court has explained that the TDA

allowed MOC to license the Assigned IP either to In-Depth or the

Developers, i.e., iiiTec and Petrowell; that MOC did, in fact,

license the Assigned IP to In-Depth; and that In-Depth sublicensed

the Assigned IP to iiiTec until 2017 when the sublicense was

canceled due to non-payment of royalties.         Once MOC licensed the

Assigned IP to In-Depth, MOC could never have provided iiiTec an

exclusive license to Assigned IP, and iiiTec could not have had a

right to an exclusive license from MOC.        Because In-Depth granted

iiiTec a sublicense to Assigned IP that was properly terminated for

non-payment in 2017, iiiTec has no right to a license from In-

Depth.   See Preston Wood & Associates, LLC v. RZ Enterprises USA,

Inc., Civil Action No. H-16-1426, 2018 WL 2722328, at *6 (S.D. Tex.

June 6, 2018) (“Indeed, under Texas law, quasi-contractual claims

are unavailable when a valid, express contract exists that governs

the subject matter of the dispute.”).         Because iiiTec’s claim of

right to a license from Weatherford depends on iiiTec having had a

right to a license from MOC, iiiTec’s claim of a right to a license

from Weatherford fails for the same reason that iiiTec’s claim of

a right to a license from MOC fails.         Thus iiiTec has failed to

show that the court either ignored its alternative right to license

claims, or incorrectly concluded that those claims should be

dismissed with prejudice.     Accordingly, the court is not persuaded


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that iiiTec is entitled to the relief under Rule 59(e) or Rule

60(b)(6) because the court incorrectly granted summary judgment on

all of its claims without addressing the “right to a license”

claims asserted alternatively in Counts 2 and 3 of the Third

Amended Complaint.



                  IV. Plaintiff’s Motion to Seal Exhibits

     citing Federal Rule of Civil Procedure 26(c)(1)(G), iiiTec

moves the court to seal Exhibits 2-12 attached to its Motion to

Reconsider       “to   prevent   disclosure    of    confidential   ‘Commercial

Information.’”119       Although    iiiTec     has    recognized    that   “[i]n

exercising its discretion to seal judicial records, the Court must

balance the       public’s   common   law     right   of   access   against   the

interests favoring nondisclosure,”120 instead of showing why the

balance of interests favors nondisclosure, iiiTec merely asserts

that its exhibits

     contain confidential information which should be
     protected from public disclosure. . . The parties have
     entered into a protective order which allows for
     designation and protection of such material.

          At this stage of the proceeding, the filing of the
     Exhibits under seal will not prejudice the Defendants.
     However, if the specified Exhibits become part of the
     public record, it would be detrimental to potentially
     both parties as they are designated as “Confidential.”


     119
           Plaintiff’s Motion to Seal Exhibits, Docket Entry No. 193,
p. 2.
     120
           Id.

                                       51
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     To give full support to the assertions and arguments in
     iiiTec’s Motion, the documents must be filed to allow the
     Court to review the details of the parties’ various
     arguments. However, the parties, as commercial entities,
     have an interest in keeping the terms of their agreements
     private.

           Thus, the balance of equities mandates the filing of
     these written responses and Exhibits under seal in order
     to protect the confidential information contained within.
     . . .
                                . . .
           iiiTec has conferenced with Defendants, who do not
     oppose, and agree that it is in all parties’ best
     interest to seal the Exhibits proposed herein.121

     In Binh Hoa Le v. Exeter Finance Corp., 990 F.3d 410, at 417-

21 (5th Cir. 2021), the Fifth Circuit warned district courts of the

need to guard against confusing the good cause standard applied to

protective orders sealing documents produced in discovery, with the

stricter balancing test to be applied “[o]nce a document is filed

in the public record.”      Id. at 419 (quoting Vantage Health Plan,

Inc. v. Willis-Knighton Medical Center, 913 F.3d 443, 451 (5th Cir.

2019)).      Because the unopposed motion to seal filed in this case

does not address the balancing test that courts are to apply when

ruling on motions to seal documents filed in the public record, the

motion to seal will be denied.




     121
           Id. at 3.

                                    52
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                             V.   Conclusions and Order 122

        For the reasons stated in § II, above,                Plaintiff's Opposed

Motion for Leave to Fi             Reply in Support of Plaintiff's Motion to

Reconsider Memorandum Opinion and Order and Final Judgment and/or

Motion              New Tr    1 or to Modi       the Judgment,      Docket Entry

No. 196, is GRANTED.

        For the reasons stated            § III, above, Plaintiff's Motion to

Reconsider Memorandum Opinion and Order and Final Judgment and/or

Motion for New Trial or to Modify the Judgment,                     Doc     Entry

No. 192, is DENIED.

        For the re�sons stated in§ IV, above, Plaintiff's Motion for

Leave         to   Seal   Exhibits   to     aintiff's   Motion     to   Reconsider

Memorandum Opinion and Order and Final Judgment and/or Motion

New Tr;ial or to Modify the Judgment,               Docket Entry No.      193, is

DENIED.

        SIGNED at Houston, Texas, on this the 14th day of January,

2022.




                                          SENIOR UNITED STATES DISTRICT JUDGE



       As the length of this Memorandum Opinion and Order
        122

indicates, the court has expended considerable time reading the
parties' papers and performing a si   ficant amount of
independent research to be as ful   informed as possible when
addressing the   rties' arguments. The     lure to expressly
address a particular argument in this Memorandum Opinion and
Order reflects the court's judgment that the argument lacked
sufficient merit to warrant discussion.
                                           53
